USDC IN/ND case 1:20-cv-00037-HAB-SLC document 40 filed 04/15/20 page 1 of 5



                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA


LIGTEL COMMUNICATIONS, INC.,

                       Plaintiff,

                 v.                           Case No. 1:20-cv-00037-HAB-SLC

BAICELLS TECHNOLOGIES INC.;                   DECLARATION OF
BAICELLS TECHNOLOGIES NORTH AMERICA           JOSH WENTWORTH IN
INC.,                                         RESPONSE TO BAICELLS’S
                                              RESPONSE BRIEF
                       Defendants.
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 40 filed 04/15/20 page 2 of 5


I, Josh Wentworth, declare the following: solve

         1.     I am the Network Operations Supervisor for LigTel Communications, Inc. In my

role, I design, implement, and maintain LigTel’s network infrastructure. I have been employed at

LigTel for over fourteen years. I have read the supplemental declarations of Jessa DeGroote, Rick

Harnish, and Jesse Raasch (filed as docket entries 37-1, 37-2, and 37-3), which were attached to

Baicells’s responsive brief in opposition to LigTel’s motion for a preliminary injunction (Baicells

Response Brief).

         2.     Baicells mentions that they serve fixed wireless broadband providers. Harnish

Suppl. Decl. ¶ 7. But whether they are fixed or not is not relevant to the issues in this action.

Baicells is an equipment provider, not a service provider, as it affirms on page 18 of its Response

Brief.

   I.         3GPP Standards and Roaming

         3.     From my work in this industry, I know that 3rd Generation Partnership Project

(“3GPP”) is the international governing body responsible for mobile network standards. Through

my work, I came to understand that the 3GPP specification defines how roaming authentication is

supposed to take place between home and visitor networks. Roaming authentication works

because the “visited” network uses the device’s HNI code to identify the device’s carrier. It is

therefore important for that authentication process that each entity use its own HNI code.

         4.     Assuming Baicells is actually 3GPP compliant, as they claim and as stated on their

website (Mead Exhibit 10), then their equipment must be interoperable with other equipment and

can be used by providers whether they offer fixed or mobile networks. The SIM cards in Baicells’s

equipment use LigTel’s HNI code.
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 40 filed 04/15/20 page 3 of 5


    II.        LigTel’s IMSI Is Relevant For Law Enforcement Purposes.

          5.      Baicells ignores the very real threat to public safety posed by its use of LigTel’s

HNI code, stating that there is “no risk that Baicells’s use of the HNI code 31198 could harm

LigTel’s reputation with law enforcement.” Baicells’s Response Brief at 9. This is not true.

LigTel’s HNI code, which is part of the unique IMSI number for each LigTel subscriber, is relevant

to law enforcement in two situations. I have personal knowledge about and experience with both

of these situations.

          6.      First, in my experience, if law enforcement activity starts with a location-based

inquiry (such as with a Stingray device, which simulates an eNodeB), then law enforcement

captures IMSI numbers. As a result, in these situations, law enforcement will generally use IMSI

numbers (and underlying HNI codes) in their search warrants.

          7.      Second, in my experience, if a law enforcement investigation starts with an internet

investigation, then law enforcement generally focuses on the IP address associated with that

internet activity. Nonetheless, IMSI numbers (and underlying HNI codes) are still relevant for

LigTel’s purposes in these situations in two ways.

               a. First, LigTel identifies its customers using IMSI numbers and not IP addresses.

                  Accordingly, when LigTel receives legal process based on an IP address, LigTel

                  uses that IP address to look up the corresponding IMSI to determine the customer

                  to which the process relates.

               b. Second, in my experience, when law enforcement executes legal process on a

                  physical address they seize all the electronic devices on the premises. Each of those

                  devices contains SIM cards. If those SIM cards contain the HNI code 311980, law

                  enforcement will identify LigTel as the service provider for that device.



                                                    3
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 40 filed 04/15/20 page 4 of 5


          8.       Based on my experience, I believe that these issues are the reason that 3GPP

requires service providers to know who uses devices with their SIM cards.

          9.       Because of these issues, I believe that there is a risk that LigTel will be served with

a search warrant based on law enforcement’s mistaken impression that a suspect is a LigTel

subscriber.

   III.         Baicells’s Use Of LigTel’s HNI Code Causes Harm To LigTel.

          10.      As I have described previously, Baicells’s use of LigTel’s HNI code harms LigTel’s

reputation and goodwill by making it look like LigTel does not comply with applicable rules and

like LigTel cannot manage its network. Wentworth Resp. Decl. ¶ 12. In turn, that damage to

LigTel’s goodwill and reputation makes it harder for LigTel to negotiate agreements with other

providers and reduces other providers’ willingness to treat LigTel fairly. Wentworth Decl. ¶ 38.

It also inhibits other providers from sharing advice or guidance with LigTel.

          11.      In addition, Baicells’s continued use of LigTel’s HNI code may create an erroneous

perception among all of LigTel’s customers that LigTel’s network has been compromised or that

LigTel cannot manage or secure its network. Wentworth Decl. ¶ 41. That would be a major issue

for LigTel. If Baicells is able to continue using LigTel’s HNI code, LigTel will need to reassure

those customers—which include hospitals, banks, other cellular carriers, first responders,

governments, and businesses—that LigTel’s network is secure.




                                                     4
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 40 filed 04/15/20 page 5 of 5
